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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


THOMAS GONZALEZ,
D.O.C. # C05967,

      Plaintiff,

v.                                                         4:23cv17–WS/MAF

LEON COUNTY, STATE OF
FLORIDA, et al.,

      Defendants.



               ORDER ADOPTING THE MAGISTRATE JUDGE’S
                   REPORT AND RECOMMENDATION

      Before the court is the magistrate judge's report and recommendation (ECF

No. 3) docketed January 17, 2023. The magistrate judge recommends that the

plaintiff's case be dismissed pursuant to the three-strikes provision of 28 U.S.C. §

1915(g). The plaintiff has filed no objections to the magistrate judge’s report and

recommendation.

      As did the magistrate judge, the undersigned finds that the plaintiff—whose

complaint fails to make a colorable showing that he is in imminent danger of

serious physical injury—is barred under § 1915(g) from proceeding in forma
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pauperis in this case.

      Accordingly, it is ORDERED:

      1. The magistrate judge's report and recommendation (ECF No. 3) is hereby

ADOPTED and incorporated by reference into this order.

      2. The plaintiff’s complaint and this action are DISMISSED WITHOUT

PREJUDICE to the plaintiff’s initiating a new cause of action accompanied by the

$402.00 filing fee.

      3. The clerk shall enter judgment stating: “This case is dismissed without

prejudice pursuant to 28 U.S.C. § 1915(g).”

      4. The clerk shall close the case.

      DONE AND ORDERED this                17th   day of   February    , 2023.




                                 s/ William Stafford
                                 WILLIAM STAFFORD
                                 SENIOR UNITED STATES DISTRICT JUDGE
